           IN THE UNITED STATES DISTRICT COURT                       
        FOR THE EASTERN DISTRICT OF PENNSYLVANIA                     

MARTINA CANDIDA SCHLACTER,      :            CIVIL ACTION                 
     Plaintiff,            :                                         
                           :                                         
v.                         :                                         
                           :                                         
ANDREW SAUL,1                   :                                         
Commissioner of Social Security,   :                                      
     Defendant.            :            No. 19-1009                  


                 MEMORANDUM OPINION                                  
LINDA K. CARACAPPA                                                        
UNITED STATES MAGISTRATE JUDGE                                            

     Plaintiff Martina Candida Schlacter brought this action under 42 U.S.C. § 405(g), 
seeking judicial review of the final decision of the Commissioner of Social Security 
(“Commissioner”) denying plaintiff’s Supplemental Security Income (“SSI”) under Title XVI of 
the Social Security Act (“Act”).  In accordance with 28 U.S.C. § 636(c), Fed. R. Civ. P. 72, and 
Local Rule 72.1, consent to the exercise of jurisdiction by a Magistrate Judge has been 
established.                                                              
     Presently before this court is the Commissioner’s motion to dismiss for lack of 
subject matter jurisdiction.  The Commissioner moves to dismiss the instant litigation arguing 
that this court is without subject matter jurisdiction due to plaintiff’s failure to exhaust her 
administrative remedies, resulting in there being no “final decision after a hearing.”  See Motion 
to Dismiss, 8/27/19.  For the reasons that follow, the Commissioner’s motion to dismiss is 

1 Andrew Saul is now the Commissioner of Social Security.  Pursuant to Rule 25(d) of the Federal Rules of Civil 
Procedure, Andrew Saul should be substituted for Acting Commissioner Nancy A. Berryhill as the defendant in this 
suit.  No further action needs to be taken to continue this suit by reason of the last sentence of section 205(g) of the 
Social Security Act, 42 U.S.C. § 405(g).                                  
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GRANTED and plaintiff’s complaint is DISMISSED.                           
I.   FACTUAL AND PROCEDURAL HISTORY                                       
     On September 29, 2016, the Social Security Administration informed plaintiff that 
her supplemental security income would cease.  See Motion to Dismiss, Ex.1 of Declaration for 
Janay Podraza (Podraza Decl.).  The Social Security Administration notice explained that, to be 

eligible for supplemental security income, plaintiff’s resources must less than the three-thousand-
dollar resource limit for a married couple living together.  See id. at 6.  The notice further 
indicated that plaintiff had checking and savings accounts totaling over seventeen-thousand-
dollars, which was over the three-thousand-dollar resource limit for a married couple living 
together, rendering plaintiff ineligible for supplemental security income.  See id. at 8.   
     Plaintiff filed a request for review, which was denied on November 4, 2016.  See 
Motion to Dismiss, Podraza Decl. at 3 and Exs. 2 and 3 of Podraza Decl.  The November 4, 
2016 denial letter informed plaintiff that receipt of the letter was presumed within five (5) days 
of the date of the letter and that plaintiff had the right to request a hearing with an Administrative 

Law Judge (ALJ) within sixty (60) days from the receipt of the denial letter.  See Motion to 
Dismiss, Ex. 3 of Podraza Decl.  Plaintiff had until January 9, 2017, to file a timely request for a 
hearing.2  Plaintiff filed an untimely request for a hearing before an ALJ on January 30, 2017.  
See id., Ex. 4 of Podraza Decl.   On June 22, 2017, the hearing office informed plaintiff she had 
fifteen (15) days to provide information of good cause showing the reasons plaintiff’s request for 
a hearing was untimely.  See id., Ex. 5 of Podraza Decl.  Plaintiff failed to provide a response 


2 Plaintiff’s request for a hearing was due sixty-five days after November 4, 2016, which was a Sunday, January 8, 
2017.  The due date was extended to Monday, January 9, 2017, due to January 8, 2017 falling on a Sunday.  Fed. 
Civ. P. 6(a).                                                             
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to the hearing office’s request for information showing good cause, thus, plaintiff’s untimely 
January 30, 2017 request for a hearing with an ALJ was dismissed on July 21, 2017.  See id., 
Ex. 6 of Podraza Decl.                                                    
     On July 25, 2017, plaintiff requested review of the ALJ’s decision to dismiss 
plaintiff’s request for a hearing as untimely.  See id., Ex. 7 of Podraza Decl.  On January 11, 

2019, the Appeals Council denied plaintiff’s request for review of the ALJ’s July 21, 2017 
dismissal.  See id., Ex. 8 of Podraza Decl.                               
     On March 11, 2019, plaintiff filed the instant action before this court seeking 
judicial review of the administrative proceedings.  The Commissioner moved to dismiss 
plaintiff’s complaint for lack of subject matter jurisdiction, arguing that the ALJ’s order 
dismissing plaintiff’s request for a hearing as untimely was not a “final decision” over which this 
court has jurisdiction.                                                   
II.  DISCUSSION                                                           
      It is well-established that parties must “exhaust prescribed administrative 

remedies before seeking relief from the federal courts.”  McCarthy v. Madigan, 503 U.S. 140, 
144-45 (1992). “The Social Security Act provides that ‘[a]ny individual, after any final decision 
of the Commissioner of Social Security made after a hearing to which he was a party, ... may 
obtain a review of such decision by a civil action’ in federal district court.”  Sims v. Apfel, 530 
U.S. 103, 106, 120 S.Ct. 2080, 147 L.Ed.2d 80 (2000) (emphasis added) (quoting 42 U.S.C. § 
405(g)).  The SSA regulations clarify that a claimant must complete a four-step administrative 
review process in order to obtain a “final decision” subject to judicial review.  See 20 C.F.R. § 
404.900.  The steps begin with the initial determination, followed by a request for 

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reconsideration, a request for a hearing before an ALJ, and a request for Appeals Council review.  
Id. § 404.900(a).  If, after Appeals Council review, the claimant is dissatisfied with the 
Administration’s final decision, he may request judicial review by filing a federal district court 
action.  Id. §§ 404.900(a); 404.981.  Failure to timely follow the appropriate steps results in the 
loss of the right to judicial review. Id. § 404.900(b).  “A ‘final decision’ is a particular type of 

agency action, and not all agency determinations are final decisions.”  Bacon v. Sullivan, 969 
F.2d 1517, 1519 (3d Cir. 1992) (emphasis added).                          
     The declaration from Janay Podraza and the attached exhibits show that the ALJ 
has not rendered a “final decision.”  The ALJ issuance of an order denying a request for a 
hearing, finding only that plaintiff’s request for a hearing was untimely.  The ALJ never ruled 
on the merits of plaintiff’s underlying claim.  The ALJ’s denial of a request for review as 
untimely is not a “final decision” within the meaning of the regulations.  See 20 C.F.R. § 
416.1453 (noting a “decision of an [ALJ]” is issued via a written decision which gives findings 
of fact, reasons for the decision, and which must be based on the preponderance of the evidence 

offered at the hearing or in the record.)  There is no indication that plaintiff exhausted his 
administrative remedies.  Therefore, plaintiff’s complaint must be dismissed for lack of subject 
matter jurisdiction.                                                      






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                      CONCLUSION                                     
     AND NOW, this 30th day of October, 2019, based upon the above, IT IS 
ORDERED that the Commissioner’s unopposed motion to dismiss plaintiff’s complaint is 
GRANTED and this case is DISMISSED for lack of subject-matter jurisdiction.  This case shall 
be marked CLOSED forthwith.                                               


                         BY THE COURT:                               

                             /S LINDA K. CARACAPPA                                   
                         LINDA K. CARACAPPA                          
                         UNITED STATES MAGISTRATE JUDGE              













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